     CASE 0:18-cv-01445-DSD-ECW Doc. 19 Filed 09/11/18 Page 1 of 7




                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

                                                  )
WEST PUBLISHING CORPORATION,
                                                  )
           Plaintiff / Counterclaim-Defendant,    )
                                                  )
                  v.                              ) Civ No. 18-CV-01445 (DSD/SER)
                                                  )
LEGALEASE SOLUTIONS, LLC,                         )
                                                  )
           Defendant / Counterclaim-Plaintiff     )
                                                  )


                   JOINT RULE 26(F) CONFERENCE REPORT

 1. Date and Place of Meeting; Identification of the Parties and Their Attorneys;
    Agenda of Matters for Pretrial Conference.

       a. The Rule 26(f) conference was held by telephone conference on August 27, 2018.

       b. The parties to this action are:

                  West Publishing Corporation (“West”), 610 Opperman Drive, Eagan,
                  Minnesota 55123. West provides industry-leading legal technology
                  solutions, proprietary information, and legal online research platforms.
                  West is represented by Scott T. Lashway, Holland & Knight LLP, 10 St.
                  James Ave., Boston, Massachusetts, 02116, (617) 523-2700, and Lora
                  Mitchell Friedemann, Fredrikson & Byron, P.A., 200 South Sixth Street,
                  Ste. 4000, Minneapolis, Minnesota, (612) 492-7185;

                  LegalEase Solutions, LLC (“LegalEase”), 2723 South State Street, Suite
                  150, Ann Arbor, Michigan 48104. LegalEase offers legal research and
                  writing support services to corporate counsel and law firms. LegalEase is
                  represented by Aaron A. Myers, Kutak Rock LLP, 60 South Sixth Street,
                  Suite 3400, Minneapolis, MN 55402, (612) 334-5000;

                  (West and LegalEase collectively, the “Parties”).

       c. Insurance

               i. West is unaware of any policy of insurance from which an insurance
                  business may be liable to satisfy part or all of any judgment that may be
                  entered in this litigation, or to indemnify or reimburse for payments made
                  to satisfy the judgment.
    CASE 0:18-cv-01445-DSD-ECW Doc. 19 Filed 09/11/18 Page 2 of 7




             ii. LegalEase is unaware of any policy of insurance from which an insurance
                 business may be liable to satisfy part or all of any judgment that may be
                 entered in this litigation, or to indemnify or reimburse for payments made
                 to satisfy the judgment.

      d. The Parties agree that at the Pretrial Conference matters to be discussed include:

              i. The Proposed ESI Protocol;

             ii. The Proposed Confidentiality and Protective Order;

            iii. Deadlines for discovery and motion practice;

             iv. Matters related to trial; and

             v. Potential settlement.

2. Description of the Case

      a. Jurisdiction is proper under 28 U.S.C. §§ 1332(a) and (c). There is complete
         diversity of citizenship between West and LegalEase, as West resides in
         Minnesota, while LegalEase is a citizen of the state of Michigan. LegalEase has
         alleged that West did not plead the citizenship of each member of LegalEase
         Solutions, LLC but Defendant does not dispute that there is diversity of
         citizenship between the parties. Additionally, the amount in controversy exceeds
         $75,000, as West alleges that LegalEase improperly accessed substantially more
         than $75,000 of Westlaw® information.

      b. Plaintiff alleges that in 2008, LegalEase entered into a contract with West (a
         Thomson Reuters business) to access Westlaw. From 2013 until July, 2017,
         LegalEase’s use of Westlaw was about 6,000 transactions per month, which, upon
         information and belief, is consistent with LegalEase’s stated use of the product,
         namely to assist it in preparing legal writing for law firms, in-house counsel, and
         other attorneys. According to LegalEase, in July, 2017, it was working with a
         machine learning and artificial intelligence firm to create a new legal research
         product. As part of this undertaking, LegalEase “fed” the “machine” with “tons
         and tons of legal research.” Upon information and belief, LegalEase obtained this
         “legal research” from Westlaw. Beginning in about July, 2017, LegalEase’s use
         of Westlaw spiked, eventually reaching approximately 236,000 transactions per
         month, which is a twenty-fold increase over LegalEase’s historical usage pattern
         and represents a usage rate greater than the average monthly usage of the
         “AmLaw 100” law firms. Upon information and belief, LegalEase, among other
         things, deployed computer programs, automated processes, or “bots” to capture
         and store Westlaw information, and shared Westlaw passwords with multiple
         individuals (including, upon information and belief, non-LegalEase employees)
         in violation of the Subscription Agreement. Upon information and belief,
         LegalEase stored and conveyed Westlaw information obtained during this period


                                            2
CASE 0:18-cv-01445-DSD-ECW Doc. 19 Filed 09/11/18 Page 3 of 7




    to its “machine learning” customer, thereby further violating LegalEase’s
    agreement with West and other of West’s legal rights. In January, 2018, West
    provided notice of termination of LegalEase’s access to all Westlaw products.
    West informed LegalEase that its sharing of Westlaw passwords with employees
    of a separate company violated the terms of their contract. West asserts a claim
    against LegalEase for breach of contract. As a direct and proximate cause of
    LegalEase’s breach, West has suffered, and will continue to suffer, damages in an
    amount to be determined at trial. West is entitled to injunctive relief enjoining
    LegalEase from accessing, using, storing, selling, or transferring any information
    that it acquired from Westlaw in violation of the Subscription Agreement. West
    denies LegalEase’s counterclaim as set forth in its Answer.

 c. Defendant alleges that LegalEase has been a paying Westlaw subscriber for over
    10 years. In mid-to-late 2017 LegalEase began preparing for a large-scale legal
    research project and reached out to West regarding pricing and terms for
    additional licenses. LegalEase specifically inquired about obtaining licenses for
    both employees and independent contractors working on the new project. West
    confirmed that LegalEase could obtain licenses on behalf of independent
    contractors. In reliance on West’s representations, LegalEase signed a renewal
    agreement for an additional 50 licenses to cover new employees and independent
    contractors, on top of the 16 pre-existing licenses. At all times, the licenses were
    subject to West’s General Terms and Conditions. Notwithstanding LegalEase’s
    timely payments of monthly subscription fees and various miscellaneous charges,
    West terminated LegalEase’s access to Westlaw on January 4, 2018. West’s
    termination was contrary to the agreement it had with LegalEase and West
    provided no opportunity for discussion, remedy, or cure of any suspected breach.
    West’s breach of the agreement, the implied covenant of good faith and fair
    dealing, and breach of its promises resulting in business loss, delays in completing
    its work, harm to reputation and out-of-pocket expenses.

 d. Damages

         i. West seeks damages equal to the value of the Westlaw information
            improperly accessed by LegalEase. West also seeks reasonable attorneys’
            fees and costs. West requests that LegalEase be denied all relief it has
            requested in its counterclaim.

        ii. LegalEase requests that West be denied all relief it has requested in its
            Complaint and the Complaint be dismissed with prejudice and that the
            Court holds West liable for West’s breach of its contract and implied
            covenants. LegalEase seeks monetary damages, attorneys’ fees as
            appropriate, and such other and further relief the Court deems appropriate
            and just under the circumstances.




                                      3
     CASE 0:18-cv-01445-DSD-ECW Doc. 19 Filed 09/11/18 Page 4 of 7




3. Pleadings

       a. As of the date of the report, the Complaint and all responsive pleadings have been
          filed. The Parties do not propose amending the pleadings at this time.

       b. If necessary, the Parties agree that all motions that seek to amend the pleadings to
          add parties, claims, and defenses will be filed by December 7, 2018.

       c. A jury trial is available under the law and both parties have made a timely
          demand for a jury trial.

4. Discovery Plan. The Parties desire to resolve this dispute in an expedient manner. As
   such, the Parties agree that discovery should proceed on an accelerated timeline. In
   addition, the Parties agree to the following:

       a. Rule 26(a) Disclosures

               i. West served its Initial Rule 26(a)(1) disclosures by U.S. Mail on
                  September 10, 2018, 14 days after the Parties held their Rule 26(f)
                  conference.

               ii. LegalEase agreed to prepare and serve its Initial Rule 26(a) disclosures by
                   Monday, September 17, 2018.

       b.   Alternative Dispute Resolution

               i. West does not anticipate wishing to engage in any method of alternative
                  dispute resolution following the Rule 26(a)(1) disclosures. At this time,
                  West does not anticipate that alternative dispute resolution will be
                  appropriate in this case.

               ii. LegalEase believes that an early settlement conference with the Magistrate
                   would be appropriate prior to significant or substantial discovery, or in
                   conjunction with ongoing discovery, but prior to depositions. LegalEase
                   has no objection to this matter being referred to a private mediator.

       c. Fact discovery shall commence first, with expert discovery to commence
          following the close of fact discovery.

       d. ESI Protocol. The Parties agree that this case will involve electronically stored
          information (ESI) and that a mutually agreed upon ESI protocol will be
          beneficial.

               i. West presented a proposed ESI protocol to LegalEase on September 9,
                  2018. West desires for the Parties jointly to propose to the Court an
                  agreed-upon ESI protocol by Friday, September 14, 2018, in advance of
                  the Rule 16 conference scheduled for Tuesday, September 18, 2018.



                                             4
    CASE 0:18-cv-01445-DSD-ECW Doc. 19 Filed 09/11/18 Page 5 of 7




             ii. LegalEase is reviewing the proposed ESI protocol and will endeavor to
                 finalize the proposal prior to September 18, 2018. LegalEase may need
                 additional time to review the proposed ESI protocol, and anticipates this
                 can be accomplished prior to September 26, 2018.

      e. Protective Order. The Parties recognize that discovery in this case may require
         the production of confidential materials.

              i. West presented a revised proposed confidentiality and protective order to
                 LegalEase on September 9, 2018, which revised LegalEase’s proposed
                 draft. West desires for the Parties jointly to propose to the Court an
                 agreed-upon confidentiality and protective protocol by Friday, September
                 14, 2018, in advance of the Rule 16 conference scheduled for Tuesday,
                 September 28, 2018.

             ii. LegalEase will review the proposed confidentiality and protective order by
                 September 14, 2018.

      f. The Parties agree that West shall disclose the identity of its expert witnesses, and
         shall submit such experts reports under Rule 26(a)(2)(A) and (B) no later than
         March 22, 2019. The Parties further agree that LegalEase shall disclose the
         identity of its expert witnesses, and shall submit such affirmative experts reports
         under Rule 26(a)(2)(A) and (B) no later than March 22, 2019. The Parties shall
         submit rebuttal expert reports no later than April 5, 2019.

      g. With the exception of the below modification of the number of interrogatories
         each side shall be permitted to serve, the Parties do not propose any other changes
         to the limitations on discovery imposed by the Federal Rules of Procedure or the
         Local Rules.

      h. The Parties agree that each side shall be permitted to serve thirty-five (35)
         interrogatories, including subparts.

      i. Each party shall be permitted to take five (5) depositions.

      j. Each party shall be permitted to take two (2) expert depositions.

5. Close of Fact and Expert Discovery and Non-Dispositive Motions

      a. The Parties agree that all fact discovery shall be completed by February 19, 2019.

      b. The Parties agree that all expert discovery, including expert depositions, shall be
         completed by May 6, 2019.

      c. The Parties agree that all non-dispositive motions shall be served, filed and heard
         by the Court four (4) weeks prior to the trial date determined by the Court.




                                           5
    CASE 0:18-cv-01445-DSD-ECW Doc. 19 Filed 09/11/18 Page 6 of 7




6. Dispositive Motions and Trial

      a. The Parties agree that all dispositive motions shall be served, filed and heard by
         the Court by July 5, 2019.

      b. The Parties agree that the case will be ready for trial by September 9, 2019.

      c. The Parties expect that each side will call between 5 and 10 witnesses at trial,
         although this number is subject to change pending the outcome of discovery.

      d. The Parties estimate five (5) days will be required for trial, including jury
         selection and instructions.




                                            6
        CASE 0:18-cv-01445-DSD-ECW Doc. 19 Filed 09/11/18 Page 7 of 7




Date: September 11, 2018



Lora Mitchell Friedemann (#0259615)   /s/ Scott T. Lashway
Fredrikson & Byron, P.A.              Scott T. Lashway (pro hac vice)
200 South Sixth Street                Benjamin A. Stern (pro hac vice)
Suite 4000                            Holland & Knight LLP
Minneapolis, MN 55402                 10 Saint James Avenue
(612) 492-7185                        Boston, Massachusetts 02116
lfriedemann@fredlaw.com               (617) 523-2700
                                      Scott.Lashway@hklaw.com
                                      Benjamin.Stern@hklaw.com



                                      Attorneys for West Publishing
                                      Corporation




Date: September 11, 2018.

                                      /s/ Amanda R. Cefalu
                                      Niall A. MacLeod (#269281)
                                      Diane L. Peterson (#270702)
                                      Amanda R. Cefalu (#309436)
                                      Aaron A. Myers (#311959)
                                      Kutak Rock LLP
                                      60 South Sixth Street, Suite 3400
                                      Minneapolis, MN 55402
                                      Tel: (612) 334-5000
                                      Fax: (612) 334-5050
                                      Niall.MacLeod@kutakrock.com
                                      Diane.Peterson@kutakrock.com
                                      Amanda.Cefalu@kutakrock.com
                                      Aaron.Myers@kutakrock.com

                                      Attorneys for LegalEase Solutions, LLC




                                           7
